Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1129 Filed 10/30/08 Page 1 of 16




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),               CASE NUMBER: 07-20472
                                                 HONORABLE VICTORIA A. ROBERTS
v.

CARDELL CLINTON CAMPBELL,

                     Defendant(s).
                                         /

                  ORDER ADOPTING THE MAGISTRATE JUDGE’S
                      REPORT AND RECOMMENDATION

I.     INTRODUCTION

       This matter is before the Court on Defendant Cardell Clinton Campbell’s

(“Campbell”) “Motion to Suppress and for an Evidentiary Hearing.” (Doc. #36).

Magistrate Judge Donald A. Scheer granted Campbell’s request for an evidentiary

hearing. An evidentiary hearing was held on December 17, 2007 and continued on

January 25, 2008 and April 4, 2008.

       Campbell asks the Court to suppress: (1) the kilogram of cocaine seized by

Deputy Burnon Lilly (“Deputy Lilly”) of the Wayne County Sheriff’s Department; and (2)

the inculpatory statements made after the seizure.

       On September 23, 2008, Magistrate Judge Scheer issued a Report and

Recommendation (“R&R”) that recommends the Court DENY Campbell’s motion. He

says: (1) the traffic stop was lawful; (2) Campbell was detained during the traffic stop,

not arrested; (3) the detention did not violate the Fourth Amendment; (4) it was lawful to



                                             1
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1130 Filed 10/30/08 Page 2 of 16




allow the police dog inside the car to sniff; (5) the seizure of the cocaine did not violate

Campbell’s Fourth Amendment rights; (6) Deputy Lilly had probable cause to arrest

Campbell once the cocaine was seized; and (7) Campbell voluntarily waived his

Miranda rights before he gave inculpatory statements.

       Campbell objects. He says the R&R: (1) improperly finds Deputy Lilly’s

testimony credible; (2) shifts the burden of proof to Campbell; (3) incorrectly relies on

Virginia v. Moore, 128 S.Ct. 1598 (2008); (4) incorrectly concludes Campbell was not

under arrest before the cocaine was seized; and (5) incorrectly analyzes the

admissibility of Campbell’s statements based on Miranda warnings instead of the “fruit

of the poisonous tree” doctrine.

       Campbell also says Magistrate Judge Scheer failed to include important facts in

the R&R. Those “important facts” are reflected in the following section.

       For the following reasons, the Court ADOPTS the R&R.

II.    BACKGROUND

       A.     Meeting with the Confidential Informant

       On August 27, 2007, Special Agent Brian Malagrida (“SA Malagrida”) of the Drug

Enforcement Administration (“DEA”) met with a confidential informant (“CI”) at the CI’s

request.

       The CI provided SA Malagrida a physical description of Campbell and told SA

Malagrida: (1) Campbell resides at 6700 Iowa Street; (2) Campbell drives a green

Cadillac; (3) Campbell’s nickname is “Skip”; (4) he did not know “Skip’s” real name; (5)

Campbell is a multiple-ounce quantity cocaine dealer; (6) he was involved in narcotic



                                              2
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1131 Filed 10/30/08 Page 3 of 16




deals with Campbell; and (7) Campbell recently received a couple kilograms of cocaine

that he was selling for approximately $25,000.00 per kilogram.

          The CI did not tell SA Malagrida: (1) the names of the people who allegedly

purchased drugs from Campbell; or (2) the dates, times, and places of the alleged drug

deals.

          The information provided by the CI was based on information he received from

other people as well as the CI’s own personal knowledge and observations.

          SA Malagrida believed the CI’s information was reliable because he gave SA

Malagrida information in the past that led to the seizure of drugs.

          B.    Follow-Up to Meeting with the Confidential Informant

          After the meeting with the CI, SA Malagrida: (1) identified “Skip” as Campbell; (2)

verified that 6700 Iowa Street is Campbell’s residence; (3) verified that Campbell drives

a green Cadillac (registered to his mother, Alana Turner); and (4) showed the CI

Campbell’s driver’s license picture. The CI identified the person in the photograph as

“Skip.”

          During the last week in August and the first week in September, SA Malagrida

conducted drive-by surveillance and spot checks. While the surveillance revealed that a

green Cadillac and 6700 Iowa Street existed, SA Malagrida did not see Campbell at

6700 Iowa Street nor did he observe criminal or suspicious activity.

          SA Malagrida did not believe the CI’s information and his follow-up surveillance

were sufficient to arrest Campbell or obtain a search warrant. So, SA Malagrida

organized a controlled purchase between the CI and Campbell.

          The drugs from that transaction were placed on an evidence tag, but the

                                               3
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1132 Filed 10/30/08 Page 4 of 16




controlled purchase was not disclosed prior to the evidentiary hearing. SA Malagrida

says he decided not to disclose the controlled purchase to defense counsel because

Campbell was not charged with the controlled purchase.

       After the controlled purchase, SA Malagrida believed he had probable cause to

arrest Campbell. He did not do so.

       C.     Briefing on September 14, 2007

       On September 14, 2007: (1) Special Agents Paul Sorce (“SA Sorce”) and

Anthony Hartman (“SA Hartman”) of the Federal Bureau of Investigation; (2) Task Force

Officers Art Wimmer, Sergeant Benito Mendoza, Everett Monroe, and Deputy Donald

Farris; and (3) Wayne County Sheriff Deputy Radkin Smith, along with Deputy Lilly,

attended a briefing led by SA Malagrida.

       SA Malagrida told the attendees Campbell: (1) was the target of a narcotics

investigation; (2) resides at 6700 Iowa Street; (3) drives a green Cadillac; (4) was

expected to conduct a large scale drug transaction that day; (5) goes by the nickname

“Skip”; (6) has at least one drug conviction; and (7) was identified by the DEA

Intelligence Database as a drug trafficker.

       SA Malagrida told Deputies Lilly and Smith that an agent would notify them once

the surveillance team believed narcotics were in the green Cadillac. While Deputy Lilly

was not assigned to traffic enforcement duty on September 14, 2007, Deputy Lilly and

Deputy Smith’s role was to conduct a “felony” traffic stop to see if, in fact, narcotics were

in the car. SA Malagrida instructed them to not conduct a traffic stop until Campbell

committed a traffic infraction. Deputy Lilly and Deputy Smith were not part of the

surveillance team.

                                              4
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1133 Filed 10/30/08 Page 5 of 16




       SA Malagrida said if Campbell did not commit a traffic infraction, Deputy Lilly and

Deputy Smith would not conduct a traffic stop unless the agents received additional

information. In that case, the surveillance team would simply continue to watch

Campbell.

       D.     Surveillance on September 14, 2007

       At approximately 1:20 p.m. on September 14, 2007, members of the surveillance

team began their investigation at 6700 Iowa Street.

       The team observed Campbell exit his residence with Quentisha White (“White”).

Neither individual carried anything. This led SA Hartman to believe Campbell and White

would pick up drugs from another location.

       Campbell and White left 6700 Iowa Street in a green Cadillac. Agents from the

surveillance team followed the Cadillac from Iowa Street to 12666 Mendota, a trip that

took approximately 18 minutes.

       SA Malagrida did not provide information about 12666 Mendota at the briefing

because he was unaware of that address.

       Campbell and White remained at 12666 Mendota for approximately 3-5 minutes.

No one saw: (1) either individual get out of the green Cadillac; (2) anyone approach that

car; (3) drugs; or (4) a drug transaction.

       Nevertheless, SA Malagrida believed a drug transaction occurred at the Mendota

address. SA Malagrida based this belief on: (1) the information he had about

Campbell’s prior drug dealings; (2) the information from the CI; and (3) Campbell’s brief

stop at 12666 Mendota.

       SA Sorce wanted Campbell stopped before he reached another location because

                                             5
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1134 Filed 10/30/08 Page 6 of 16




he also believed a drug transaction occurred at the Mendota address.

       Sergeant Mendoza initially said Campbell did not engage in suspicious activity

during their entire surveillance. Later in the evidentiary hearing, Sergeant Mendoza

said that because the surveillance team was following Campbell – whom they believed

to be a narcotics trafficker – he found it suspicious that Campbell went to the Mendota

address for a short period of time. Sergeant Mendoza believed Campbell picked up

what he was supposed to deliver.

       SA Hartman did not see Campbell engage in criminal or suspicious activity.

       Regardless of what members of the surveillance team saw or did not see, Deputy

Lilly was “directed” to “pull over” Campbell.

       Deputy Lilly could not recall who gave the order because multiple agents

communicated by radio, and Lilly was not familiar with all of them. In his report, Deputy

Lilly stated SA Malagrida told him to pull Campbell over. During the evidentiary hearing,

however, Deputy Lilly said SA Malagrida told him it was SA Sorce.

       E.     Traffic Stop

       In response to the order, Deputy Lilly followed directly behind the green Cadillac

on Santa Rosa for approximately one block. He then observed Campbell make a right

turn onto Buena Vista without using his turn signal.

       The Government does not have video surveillance of the alleged traffic infraction

because Deputy Lilly’s squad car is not equipped with a video camera. The

Government also does not have radio transmissions from September 14, 2007.

Further, Deputy Lilly did not issue a citation. Only Deputy Lilly and Deputy Smith

observed the alleged traffic infraction; no member of the surveillance team observed

                                                6
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1135 Filed 10/30/08 Page 7 of 16




Campbell commit a traffic infraction during the entire surveillance.

          However: (1) SA Sorce was not in a position to see if Campbell committed a

traffic infraction; (2) SA Malagrida was a couple of miles away from the surveillance of

Campbell; (3) Deputy Farris heard either Deputy Lilly or Deputy Smith say over the

radio that he observed Campbell commit a traffic infraction; and (4) SA Sorce heard a

radio transmission that a traffic stop would be conducted because Campbell failed to

signal.

          Campbell denies he committed a traffic infraction.

          Deputy Lilly pulled Campbell over on the corner of Santa Rosa and Buena Vista

at approximately 2:20 p.m. According to Lilly, the purpose of the traffic stop was to get

the drugs SA Malagrida mentioned during the briefing. Lilly testified he did not care

about the traffic stop – he wanted to find out what was in the green Cadillac.

          When Deputy Lilly approached the car, he held his weapon to the back of his leg.

When he reached the driver’s side, where Campbell was sitting, he asked Campbell for

his license, registration, and proof of insurance. Campbell produced those documents

while shaking “uncontrollably.” Deputy Lilly “knew that [Campbell] was either very

nervous or something was medically wrong with him.” Campbell said he shook because

he gets nervous when the police pull him over. While Lilly admits it is common for

people to become nervous around police, he believed Campbell’s nervousness was

extreme.

          Deputy Lilly said during the evidentiary hearing that he also observed White

moving her left leg in a “backing motion” two or three times as if she was hiding or

kicking something. Deputy Lilly’s report simply says he observed White “moving her left

                                               7
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1136 Filed 10/30/08 Page 8 of 16




leg.”

        Deputy Lilly asked Campbell if there were guns or drugs in the car. Campbell

replied, “no, I don’t think so.”

        Deputy Lilly did not believe he could order White out of the car for her leg

gestures. He also did not have probable cause to search the car because Deputy Lilly

did not see drugs “in plain view.” Further, Campbell did not consent to a search of the

car. Lilly, therefore, called the canine unit to the scene and confiscated Campbell’s car

keys.

        Deputy Lilly said when law enforcement officers are trying to get into a car to see

if it contains drugs, it is typical to first make a traffic stop, then try to get consent to

search the car. If the officer cannot obtain consent and the drugs are not in “plain view,”

officers will typically call the canine unit.

        F.     Canine Unit at the Traffic Stop

        Deputy Lilly says the canine handler, Corporal Dave Rahn of the Wayne County

Sheriff’s Department, arrived at approximately 2:40 p.m., while he ran a Law

Enforcement Information Network (“LEIN”) check on Campbell to determine if Campbell

had an outstanding warrant (he did not).

        Deputy Farris said the canine unit arrived 10-20 minutes after Deupty Lilly

completed the LEIN check.

        When Corporal Rahn arrived, he told Lilly the occupants in the green Cadillac

had to either roll the windows up or step out of the car because his dog, “Chief,” was

aggressive. Campbell and White stepped out of the car and stood in front of Deputy

Lilly’s squad car.

                                                8
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1137 Filed 10/30/08 Page 9 of 16




       Chief began his sniff at the front of the green Cadillac. When he reached the

driver’s side door, Chief began to scratch and bite at the handle. While Chief has

“alerted” to places where no drugs were found in the past, Corporal Rahn says he was

positive drugs were in the car when Chief “alerted” because Chief tried to jump through

the window three times.

       Based on Chief’s “alert” and White’s leg gesture, Deputy Lilly handcuffed

Campbell and placed him in the back seat of his squad car. According to Lilly,

Campbell was not under arrest, but handcuffs were necessary and justified because:

(1) he had weapons in his squad car; (2) his squad car does not have a cage; and (3)

he had reasonable suspicion to believe narcotics were in the green Cadillac.

       While Campbell was in Lilly’s squad car, Corporal Rahn asked him if there was

anything in the green Cadillac he should know about. Campbell said he recently

smoked marijuana. Both Deputy Lilly and Corporal Rahn said that is a reasonable

explanation for Chief’s alert.

       Corporal Rahn then opened the driver’s door of the green Cadillac so Chief could

sniff inside. Chief alerted near the front passenger seat, and Deputy Lilly retrieved a

black plastic bag that he says stuck out from under the passenger seat. The bag

contained a kilogram of cocaine.

       Lilly testified Campbell was not free to go while the traffic stop was being

conducted.

       G.     Campbell’s Interview

       Once the cocaine was found, Deputy Lilly read Campbell and White their

constitutional rights. At that point, Deputy Lilly believed Campbell was under arrest.

                                             9
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1138 Filed 10/30/08 Page 10 of 16




        Deputy Lilly interviewed Campbell in the presence of Deputy Smith. Campbell

 stated the cocaine was inside the car while he went to the movies, out to dinner, and to

 the store with his girlfriend. Campbell stated his best friend gave him the cocaine, and

 he intended to “flip it” for $20,000.00. Campbell was willing to cooperate, but he was

 not going to reveal his friend’s identity for a reduced sentence.

        On September 25, 2007, Campbell was charged with: (1) Conspiracy to Possess

 with Intent to Distribute and to Distribute Cocaine, in violation of 21 U.S.C. §§ 841(a)(1)

 and 846; and (2) Possession with Intent to Distribute Cocaine, in violation of 21 U.S.C.

 §841(a)(1).

 III.   APPLICABLE LAW AND ANALYSIS

        A.     Is Deputy Lilly’s Testimony that he had Probable Cause to Believe
               Campbell Committed a Traffic Infraction Credible?

        Deputy Lilly’s decision to conduct a traffic stop is reasonable and complies with

 the Fourth Amendment guarantee against “unreasonable” searches and seizures if he

 had probable cause to believe Campbell committed a traffic infraction. See Whren v.

 United States, 517 U.S. 806, 810 (1996) (citing Delaware v. Prouse, 440 U.S. 648, 659

 (1979); Pennsylvania v. Mimms, 434 U.S. 106, 109 (1977) (per curiam)). Probable

 cause means “reasonable grounds for belief, supported by less than prima facie proof

 but more than mere suspicion.” United States v. Ferguson, 8 F.3d 385, 392 (6th Cir.

 1993) (quoting United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990)).

        The Government has the burden to prove the traffic stop was based on probable

 cause. United States v. Walters, 492 F.Supp.2d 754, 758 (W.D. Mich. 2007) (citing

 United States v. Beal, 810 F.2d 574, 577 (6th Cir. 1987)). To determine if the


                                             10
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1139 Filed 10/30/08 Page 11 of 16




 Government met this burden, the Court scrutinizes Deputy Lilly’s testimony – in light of

 the testimony from members of the surveillance team – to see if it is credible. See

 United States v. Hill, 195 F.3d 258, 267 (6th Cir. 1999); United States v. Akram, 165

 F.3d 452, 455 (6th Cir. 1999).

        Campbell asks the Court to discredit Deputy Lilly’s testimony because: (1) the

 traffic stop was only planned and conducted to determine if drugs were in the green

 Cadillac; (2) Deputy Lilly was not told he should only pull Campbell over if he observed

 a traffic infraction; (3) Deputy Lilly conducted the traffic stop immediately after ordered

 to do so; (4) no member of the surveillance team saw a traffic infraction; (5) it is highly

 unlikely that Campbell did not commit a traffic infraction until the surveillance team

 wanted the car searched for narcotics; (6) there is no corroboration of Deputy Lilly’s

 testimony; and (7) Deputy Lilly contradicted himself on other issues.

        The Court shares Campbell’s concern that police officers may lie and say

 defendants committed a traffic infraction as a pretext to determine whether the car

 contains contraband. Nevertheless, the Court is not convinced that Deputy Lilly lied

 about Campbell making an illegal turn.

        It does not matter that the traffic stop was ultimately conducted to determine if

 narcotics were in the car. If probable cause exists, an officer may stop a vehicle for a

 traffic infraction even when his true motivation for the stop is to search for contraband.

 Hill, 195 F.3d at 264 (citing Whren, 517 U.S. at 812-13). The officer’s knowledge or

 suspicions about the traffic violator at the time of the stop is irrelevant. Ferguson, 8

 F.3d at 391. Simply put, “traffic stops based on probable cause, even if other

 motivations existed, are not illegal.” Id. at 392.

                                               11
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1140 Filed 10/30/08 Page 12 of 16




         The Court declines to find that Deputy Lilly’s subjective motivation for the traffic

 stop means Campbell did not commit a traffic infraction.

         While the agent who ordered Deputy Lilly to conduct a traffic stop may not have

 told him to do so only if he committed a traffic infraction, the evidence shows SA

 Malagrida informed Deputy Lilly at the briefing that a traffic stop should not be

 conducted unless he observed a traffic infraction. Deputy Lilly, therefore, was aware he

 could not stop Campbell absent a traffic infraction.

         Deputy Lilly did not stop Campbell immediately after he received the order. He

 went around another agent’s car, got directly behind Campbell, and followed Campbell

 for approximately one block until he observed a traffic infraction and pulled Campbell

 over.

         Further, the record contains some evidence of corroboration. Deputy Farris and

 SA Sorce heard either Deputy Lilly or Deputy Smith say over the radio that he observed

 a traffic infraction and would conduct a traffic stop.

         The fact that members of the surveillance team followed Campbell for a lengthy

 period of time and did not observe a traffic infraction does not discredit Deputy Lilly’s

 testimony. The surveillance team focused on Campbell’s actions; its members were not

 looking for traffic infractions. It was Lilly and Smith’s responsibility to determine if

 Campbell committed a traffic infraction. However, the Court notes its disagreement with

 the Magistrate Judge’s conclusion that the agents did not observe a traffic infraction

 because they are not trained in that area.

         Finally, the Court does not find Deputy Lilly contradicted himself. There is

 confusion in the record about whether Deputy Lilly stopped Campbell on Santa Rosa or

                                               12
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1141 Filed 10/30/08 Page 13 of 16




 Buena Vista because the traffic stop occurred on the corner of those two streets. In

 addition, it is not contradictory to say on the one hand that White looked like she was

 kicking something while on the other hand saying she was moving her left leg.

        Deputy Lilly’s belief that Campbell committed a traffic infraction was based on

 more than mere suspicion, and he was in the best position to observe the traffic

 infraction. The Court finds his testimony credible.

        B.     Was the Detention of Campbell During the Traffic Stop
               Constitutional?

        Campbell says the Magistrate Judge’s conclusion that his detention during the

 traffic stop was justified based on Virginia v. Moore, 128 S.Ct. 1598 (2008), is improper

 because Moore involved a criminal offense, not a civil infraction.

        The Court need not reach that issue. The Magistrate Judge concluded as an

 alternative that Deputy Lilly had reasonable suspicion of drug trafficking to justify

 Campbell’s detention.

        The Court agrees.

        Once Deputy Lilly completed the traffic stop, he could not detain Campbell further

 unless something happened during the stop to cause Deputy Lilly to have a “reasonable

 and articulable suspicion that criminal activity [is] afoot.” United States v. Davis, 430

 F.3d 345, 353 (6th Cir. 2005) (citations omitted). Reasonable suspicion is less

 demanding than a probable cause standard and requires a showing considerably less

 than preponderance of the evidence. Illinois v. Wardlow, 528 U.S. 119, 123 (2000).

 Nevertheless, there must be at least a minimal level of objective justification for the

 detention. See id.


                                              13
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1142 Filed 10/30/08 Page 14 of 16




        Campbell was extremely nervous when Deputy Lilly approached the car. While

 nervousness is an unreliable indicator of illegal activity and is given very limited or no

 weight in the reasonable suspicion calculation, United States v. Urrieta, 520 F.3d 569,

 577 (6th Cir. 2008), it is reasonable to conclude that an extreme display of nervousness

 would elevate the level of suspicion that more than a traffic infraction engenders.

         Campbell’s nervousness must be added to the information Deputy Lilly obtained

 during the briefing: Deputy Lilly observed White move her leg in a kicking motion like

 she was hiding something, and Campbell stated he did not think he had drugs in the

 car. Based on this collective information, it was reasonable for Deputy Lilly to detain

 Campbell even after Campbell provided a valid license, registration, and insurance.

        Deputy Lilly did not violate Campbell’s Fourth Amendment rights. The totality of

 the circumstances gave Lilly reasonable and articulable suspicion that drug trafficking

 was afoot.

        C.     Did the Detention Rise to the Level of an Arrest that Requires
               Probable Cause?

        Campbell says when Deputy Lilly confiscated his car keys and ordered him out of

 the car during Chief’s sniff, it constituted a de facto arrest in violation of his

 constitutional rights.

        The Court disagrees.

        While it is a seizure when a police officer stops a car and detains the occupants,

 United States v. Calderon-Valenzuela, 2000 WL 571953 at *3 (6th Cir. May 3, 2000)

 (citing Terry v. Ohio, 392 U.S. 1 (1968)), traffic stops are “more akin to an investigative

 detention rather than a custodial arrest[.]” Hill, 195 F.3d at 264.


                                                14
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1143 Filed 10/30/08 Page 15 of 16




        “[A]n investigative detention must be temporary and last no longer than is

 necessary to effectuate the purpose of the stop.” United States v. Davis, 430 F.3d 345,

 354 (6th Cir. 2005) (quoting Florida v. Royer, 460 U.S. 491, 500 (1983)). The

 investigative detention turns into an arrest through the passage of time or the use of

 force. Houston v. Clark County Sheriff Deputy John Does 1-5, 174 F.3d 809, 814 (6th

 Cir. 1999). If the traffic stop ripens into an arrest, the officer needs probable cause to

 continue the detention. Id. (citing United States v. Avery, 137 F.3d 343, 349 (6th Cir.

 1997)).

        Deputy Lilly’s detention of Campbell did not ripen into a de facto arrest. The

 detention only lasted until the canine unit arrived and “Chief” sniffed – a period of less

 than an hour. This is a reasonable amount of time to dispel Deputy Lilly’s suspicion of

 whether drugs were in the car. See e.g., United States v. Orsolini, 300 F.3d 724, 730

 (6th Cir. 2002) (not unreasonable for an investigation to last less than one hour).

        Confiscating Campbell’s car keys was “reasonably related” to the investigation of

 whether the car contained drugs. See Houston, 174 F.3d at 814 (“the length and

 manner of an investigative stop should be reasonably related to the basis for the initial

 intrusion”) (citing United States v. Palomino, 100 F.3d 446, 449 (6th Cir. 1996)). Lilly

 did not want Campbell to flee the scene while he waited for the canine unit.

        Further, Campbell was ordered out of the car for his own protection against an

 aggressive canine dog; if Campbell and White were not out of the car, “Chief” could not

 sniff. This, therefore, was “reasonably related” to the investigation.

        D.     Are Campbell’s Statements “Fruit of the Poisonous Tree”?

        Citing Wong Sun v. United States, 371 U.S. 471 (1963), Campbell asks the Court

                                              15
Case 2:07-cr-20472-VAR-DAS ECF No. 83, PageID.1144 Filed 10/30/08 Page 16 of 16




 to suppress his inculpatory statements because they are “fruit of the poisonous tree.”

 See Wong Sun, 371 U.S. at 485 (verbal evidence is inadmissible if it derived from

 official illegality).

         Because the Court concludes that Deputy Lilly’s actions were legal and did not

 violate Campbell’s Fourth Amendment rights, the “fruit of the poisonous tree” doctrine

 does not apply. Campbell’s statements are admissible.

 IV.     CONCLUSION

         The Court ADOPTS the Magistrate Judge’s R&R. Campbell’s motion to

 suppress is DENIED.

         IT IS ORDERED.


                                                  S/Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge

 Dated: October 30, 2008

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  October 30, 2008.

  s/Carol A. Pinegar
  Deputy Clerk




                                                    16
